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 AO 91 (Rev.08/09) Criminal Complaint                                                CLERK U.S. DlSlHiCI CUUHI

                                     United States District Court                                                 United States Courts
                                                                 for the                                        Southern District of Texas
                                                     Eastern District of Virginia                                        FILED
                                                                                                                       February 26, 2020
                   United States of America
                                V.
                                                                                                                             
                  JOHN CAMERON DENTON                                                                        David J. Bradley, Clerk of Court
                                                                            Case No.1 ^20-mj-84
                         a/k/a "Rape"
                       ■ a/k/a "Death"
                      a/k/a 'Tormentor"                                                                  4:20mj0402
                           DefendanlfsJ


                                                      CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of             November 2018 to April 2019        in the county of            Alexandria             in the
        Eastern        District of             Virginia        ,the defendant(s) violated:
            Code Section                                                      Offense Description

18U.S.C.§371                                   Conspiracy to commit an offense against the United States, that is, to transmit
                                               In interstate commerce communications containing threats to injure the person
                                               of another.




          This criminal complaint is based on these facts:
Please see the attached Affidavit.




          Sf Continued on the attached sheet


 Reviewed bv AUSA/SAUSA-.

    AUSA Carina A.Cuellar
                                                                                         ^^^Compla^nt'ssi^aiun
                                                                                    FBI Special Agent, Jonathan M. Lund
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:             02/25/2020



City and state:                      Alexandria, Virginia                                                     /s/
                                                                                                   Ivan D. Davis
                                                                                     United States Magistrate Judge
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        4:20-mj-00402 Document
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